        Case 5:15-cv-00994-DAE Document 163 Filed 05/12/17 Page 1 of 38



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

TEAM EXPRESS DISTRIBUTING LLC

               Plaintiff,                                C.A. No. 5:15-cv-00994-DAE

       v.

JUNCTION SOLUTIONS, INC., MICROSOFT
CORP., AND RSM US LLP

               Defendants.



      TEAM EXPRESS DISTRIBUTING LLC’S THIRD AMENDED COMPLAINT

       Plaintiff Team Express Distributing LLC (“Team Express”) files this Third Amended

Complaint (“Amended Complaint”) against Defendants Junction Solutions, Inc. (“Junction”),

Microsoft Corp. (“Microsoft”), and RSM US LLP (“RSM”) (collectively, “Defendants”), and

hereby states and alleges the following:

                             I.    PRELIMINARY STATEMENT

       1.      This suit arises from Defendants’ fraudulent inducement of Team Express to

purchase supposedly reliable enterprise software, Microsoft Dynamics AX 2012 R3, and

implement it with a purported “expert”—certified and acclaimed by Microsoft itself. But after

months of work in implementing and using the software, it became apparent that neither the

Microsoft Dynamics product, nor the knowledge and skill of the Junction implementation team

was anything like what Defendants promised during the sales process. Simply put, the software

did not work. It failed regularly, bringing Team Express’s business to a halt each time it did.

Team Express was sold a product that Junction and Microsoft claimed was a mature, modern,

fully-tested, flexible, stable, feature-rich software product from one of the world’s leading



                                              1
        Case 5:15-cv-00994-DAE Document 163 Filed 05/12/17 Page 2 of 38



software companies; but in fact the product appears to be a fledgling, immature, untested,

experimental “toolkit” that was largely mysterious even to Microsoft and Junction, who

continually experimented to find solutions to its many problems. Indeed, even after months of

work after the “go live” date, the software remained incapable of matching the functionality of

the 25-year-old software it replaced—Ecometry. The warehousing functionality caused utter

chaos. Payment processing was a circus, lurching between charging some customers a half-

dozen times for the same order, then failing to refund or refunding too many times, while

shipping product to others without charging them at all. Simple orders could take minutes, and

sometimes over an hour, merely to input into the system. Unsurprisingly, customers were

outraged by these problems and Team Express’s reputation was deeply tarnished as a result. Had

Team Express not been fraudulently induced into buying this software, its business would have

continued thriving; instead, however, the oversold software and implementation team took a

business with an upward growth trajectory and bankrupted it. On December 16, 2015, as a result

of the devastating impact of this failed software, Team Express was forced to file a petition for

relief under chapter 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy

Code”) in the United States Bankruptcy Court for the Western District of Texas, San Antonio

Division (the “Bankruptcy Court”), commencing Bankruptcy Case No.                15-53044 (the

“Bankruptcy Case”) and creating the bankruptcy estate of Team Express (the “Estate”).

       2.




                                               2
        Case 5:15-cv-00994-DAE Document 163 Filed 05/12/17 Page 3 of 38




                                        II.    PARTIES

       3.      Team Express is a limited liability company duly organized and existing under the

laws of the state of Delaware, with its principal place of business at 5750 Northwest Pkwy #100,

San Antonio, Texas 78249. Team Express’s members are citizens of California, Florida, Kansas,

Massachusetts, Michigan, New Jersey, and Texas.

       4.      Junction Solutions is a corporation duly organized and existing under the laws of

the state of Delaware, with its principal place of business at 4643 South Ulster Street, Suite 400,

Denver, Colorado 80237. Junction conducts business in Texas and markets and sells Microsoft

Dynamics AX, along with other products, in this county and throughout the United States.

Junction has appeared and answered in this case.

       5.      Microsoft is a corporation duly organized and existing under the laws of the state

of Delaware, with its principal place of business at One Microsoft Way, Redmond, Washington

98052-6399. Microsoft has appeared and answered in this case.

       6.      RSM is a limited liability partnership duly organized and existing under the laws

of the state of Iowa, with its principal place of business at One S. Wacker Drive, Suite 800,

Chicago, Illinois, 60606. RSM has appeared and answered in this case.

                            III.    JURISDICTION AND VENUE

       7.      Defendant Junction has already appeared and answered in this litigation,

confirming that it is subject to personal jurisdiction and that venue is proper. This court has

                                                3
        Case 5:15-cv-00994-DAE Document 163 Filed 05/12/17 Page 4 of 38



personal jurisdiction over Defendant Junction because it has purposefully availed itself of the

privilege of doing business in Texas and has sought and obtained business benefit, advantage,

and profit by availing itself of this jurisdiction. This suit arises out of and relates to those

contacts. Defendant Junction further has substantial, continuous, and systematic contacts with

the State of Texas, including sales efforts and software implementations directed to other Texas

residents, including companies such as H.E.B. Finally, the exercise of jurisdiction over Junction

would not offend traditional notions of fair play and substantial justice and is not inconsistent

with the constitutional requirements of due process.

        8.      Defendant Microsoft has already appeared and answered in this litigation,

confirming that it is subject to personal jurisdiction and that venue is proper. This court has

personal jurisdiction over Defendant Microsoft because it has purposefully availed itself of the

privilege of doing business in Texas and has sought and obtained business benefit, advantage,

and profit by availing itself of this jurisdiction, including the activities that form the basis of this

suit. This suit arises out of and relates to those contacts. Defendant Microsoft further has

substantial, continuous, and systematic contacts with the State of Texas, including sales efforts

directed to other Texas residents. Finally, the exercise of jurisdiction over Microsoft would not

offend traditional notions of fair play and substantial justice and is not inconsistent with the

constitutional requirements of due process.

        9.      Defendant RSM has already appeared and answered in this litigation, confirming

that it is subject to personal jurisdiction and that venue is proper. This court has personal

jurisdiction over RSM because it resides in Texas and has continuous and systematic contacts

with this state. RSM also engaged in a transaction after this lawsuit was filed that was intended

to remove assets from Defendant Junction and place those assets outside the reach of Team



                                                  4
        Case 5:15-cv-00994-DAE Document 163 Filed 05/12/17 Page 5 of 38



Express. This activity was aimed specifically at this litigation in Texas and at Team Express,

located in Texas. The activity was intended to, and did, cause harm in Texas and was aimed

specifically at this state, which subjects RSM to specific jurisdiction in this state. The exercise of

jurisdiction over RSM would not offend traditional notions of fair play and substantial justice

and is not inconsistent with the constitutional requirements of due process.

       10.     Venue is proper in Bexar County, Texas, because all or a substantial part of the

events or omissions giving rise to this matter occurred in whole or in part in Bexar County,

Texas and because the Master Services Agreement between Team Express and Junction specifies

that “any suit, action or proceeding brought by such Party against any other Party in connection

with or arising from this Agreement shall be brought solely in any court located in Bexar

County, Texas and each Party irrevocably consents to the personal jurisdiction of, and waives

objections to venue in, each such court.” Tex. Civ. Prac. & Rem. Code § 15.002(a)(1); Exhibit A

(MSA) ¶ 14. Defendants Microsoft and RSM also maintain offices in this county—specifically

Concord Park II, 401 East Sonterra Boulevard, Suite 300, San Antonio, Texas 78258 and 100

N.E. Loop 410, Suite 1100, San Antonio, TX 78216, for Microsoft and RSM, respectively.

       11.     Junction, on its own behalf and as agent for Microsoft, committed tortious acts in

Bexar County, Texas, and the parties negotiated and Team Express executed the applicable

contracts in Bexar County, Texas. At the time of the implementation and at the time of filing

this lawsuit, the Team Express executive team and the vast majority of its operations have been

located in Bexar County, Texas. Similarly, Bexar County had been the primary location for the

software and services Junction and Microsoft provided Team Express. A substantial portion of

the fraudulent representations, contract activities, and the implementation project itself occurred

at Team Express’s offices located in Bexar County, Texas. The fraudulent transfers described



                                                 5
         Case 5:15-cv-00994-DAE Document 163 Filed 05/12/17 Page 6 of 38



herein were aimed at and directed toward this county and resulted in harm to Team Express in

this county.

         12.   The amount in controversy greatly exceeds the jurisdictional threshold for this

court.

                             IV.     FACTUAL BACKGROUND

         13.   Team Express is a San Antonio-based multi-channel retailer that sells a wide

range of sporting goods, primarily focusing on team sports such as football, baseball, basketball,

soccer, and similar sports. The company was founded in San Antonio as Southwest Baseball

Supply in 1990 and has been in continual operation since.

         14.   Since 1990, Team Express managed its operations on a software program called

Ecometry, running on a 1990’s-era Hewlett Packard mini-computer. The aging software ran on a

hardware platform that became increasingly hard to repair and maintain. Nonetheless, the

Ecometry system was reliable and met Team Express’s needs.

         15.   In January 2013, a group of investors led by Mark Marney purchased Team

Express in a stock-purchase transaction.     Mr. Marney is an experienced businessman who

previously founded and ran a successful e-commerce business called the Golf Warehouse. The

combination of Mr. Marney’s successful track record in this industry alongside Team Express’s

longstanding business provided a foundation for solid growth and profitability. That promise

was borne out when, in fiscal 2014, less than two years after the new ownership group took over,

sales were over 50% higher than the full year before the purchase—fiscal 2012. The company

was poised to build on that groundwork going forward—that is, until Defendants convinced

Team Express to purchase and install the Microsoft Dynamics software.




                                               6
        Case 5:15-cv-00994-DAE Document 163 Filed 05/12/17 Page 7 of 38



        A.      The 2010–11 Investigation and Due Diligence.

        16.     Back in 2010, Team Express began looking for a replacement for the COBOL

Ecometry system, primarily because the aging Hewlett-Packard mini-computer on which it ran

was becoming difficult to maintain.          The investigation was led by Brian Garcia, Chief

Information Officer for Team Express. During this process, Mr. Garcia spoke with a number of

the key players in enterprise software, including SAP, Oracle, Epicor, Ecometry, and Microsoft.

Since   Team     Express     was     a   mid-sized       business,   Microsoft   responded   through   a

reseller/integrator—specifically Defendant Junction. Microsoft’s own sales representatives also

participated in the sales efforts.

        17.     Given that Team Express’s needs were relatively straightforward and its business

was not particularly complex, the company did not need or want an elaborate, hard-to-implement

system that would require a great deal of effort and disruption in order to customize and

implement. Team Express made clear to Defendants what functionality it needed and that it

wished to minimize any customization of the software so as to minimize the cost and difficulty

of implementation.

        18.     By January 2011, Team Express had narrowed the field to three finalists, SAP,

Epicor, and Microsoft. At that point, each of the finalists came to San Antonio and gave

presentations and demonstrated their software to the Team Express management. Junction, a

Microsoft-authorized value-added reseller, presented Microsoft’s ERP product—Dynamics AX.

Based on the Junction presentation and representations about Microsoft Dynamics AX, that

solution appeared to be the best fit for Team Express and was selected in the spring of 2011. At

the time, the most current version of Microsoft’s offering was Dynamics AX 2009. One key

factor in this decision was the supposed fact—represented by Microsoft and Junction—that

Dynamics AX was the easiest enterprise software to implement and would not require heavy

                                                     7
        Case 5:15-cv-00994-DAE Document 163 Filed 05/12/17 Page 8 of 38



customization or a long implementation process.           Another key factor was Junction’s

representation that it had deep experience implementing Dynamics AX in the multi-channel

retail segment; in fact, Junction had developed its own software supplement to Dynamics AX

called “Junction MCR” which Junction claimed would create a seamless fit for Team Express.

       19.     Junction provided Team Express with many promotional materials regarding the

Microsoft Dynamics AX product, including an April 2010 glossy that claimed that Dynamics

AX would: “Optimize purchasing and replenishment,” and “reduce TCO with out-of-the-box

support for critical payment integration.”

       20.     During the course of the parties’ 2011 discussions, Junction (both on its own

behalf and as agent for Microsoft) made a number of misrepresentations about how the Microsoft

Dynamics software—together with Junction’s supposed expertise in the multi-channel retail

industry and its purported expertise in migrating customers from Ecometry to Dynamics—would

greatly enhance the efficiency of Team Express’s business operations without the need for a

great deal of customization. During this process, Microsoft sales representatives, including Paul

Warren, assisted and interacted directly with Team Express alongside Junction.

       21.     Some of the specific misrepresentations include, but are not limited to the

following:

       •       Repeated representations by a number of Junction personnel that, with a small
               number of specifically identified exceptions, Microsoft Dynamics AX would
               meet or exceed the functionality in the existing Ecometry software out-of-the-
               box, and that the small number of out-of-the-box gaps would be easily filled by
               Junction during implementation.

       •       On March 14, 2011, Junction’s Daryl Tanner wrote to Team Express’s Brian
               Garcia: “The input from our three days was great and got us more excited as to
               what a great fit we are for Team Express not only from a functional perspective
               but also from an ease of implementation and company culture fit.”



                                               8
Case 5:15-cv-00994-DAE Document 163 Filed 05/12/17 Page 9 of 38



•    On March 16-18, 2011, Junction presents and demonstrates Microsoft Dynamics
     AX and Junction’s implementation expertise to Team Express executives in San
     Antonio. Each Team Express department head presented their requirements and
     Junction demonstrated how the software would, supposedly, meet them. Junction
     emphasized that they had done migrations from Ecometry before and claimed
     that their track record was “impeccable.” Junction further stated that the
     Microsoft Dynamics AX product would continue to get better “through continued
     innovation.”

•    On March 23, 2011, Microsoft’s Paul Warren wrote to Team Express’s Brian
     Garcia and Kevin Udell: “Junction’s consultants are experts in delivery multi-
     channel retail/cross channel retail solutions and have many happy customers. …
     Furthermore, Junction has a quality list of multi-channel retail customers similar
     to Team Express that proves our solution works well in addressing your business
     issues. ... With Microsoft Dynamics AX and Junction, Team Express will
     receive the best of both worlds: (1) The “safety net” of working with the largest
     software company in the world—thus, a very strong ‘vendor viability’ story; (2)
     expert delivery consultants from a proven boutique multi-channel retail firm that
     can bring best practices from other similar customers. Please know that after
     selling ERP systems for over 25 years, I know it is ‘open heart surgery’ on a
     business to implement new ERP solutions... and it comes with inherent risk.
     However, by carefully conducting your ‘due diligence,’ you will see that
     selecting your ERP partners is critical to its success. The combination of Team
     Express, Microsoft, and Junction make an outstanding team and we will
     succeed!”

•    On March 29, 2011, Junction’s Daryl Tanner wrote to Brian Garcia: “Microsoft’s
     technical core is awesome now and will stay that way because of all the
     investment they are putting into the software. It is an easy and flexible
     environment to work in and the investment being made by Microsoft is huge.”
     Later, during a telephone call on or about June 5, 2015, Microsoft’s Jen Cirks
     effectively admitted that this was untrue, when she characterized Dynamics AX,
     not as a powerful, “awesome” software suite, but instead as merely a “developers
     tool.”

•    On April 11, 2011, Junction’s Daryl Tanner sent a document to Brian Garcia
     describing Microsoft Dynamics AX and Junction: “Reliable solution operating at
     over 13,104 customers worldwide … Uniquely designed for rapid
     implementation and deployment … Ecometry Replacement is our ‘sweet spot’ …
     [Dynamics is] mature, industry proven … Microsoft Dynamics AX and Junction
     Solutions MCR choice delivers the most value at the lowest risk because it’s:
     Technology ready (Flexible, scalable, & fits your systems); Value ready
     (Eliminates hidden costs associated with expensive integration and
     interoperability challenges); Business ready (Proven solution for multi-channel
     catalog, direct marketing business like yours); And it’s - Team Express ready.”


                                     9
Case 5:15-cv-00994-DAE Document 163 Filed 05/12/17 Page 10 of 38



•    On April 13, 2011, Junction’s Daryl Tanner forwarded to Brian Garcia a Nucleus
     Research Guidebook for Microsoft Dynamics AX 2009 stating: “Deployed
     properly, Microsoft Dynamics AX can deliver payback in fewer than 18 months.
     … Because they can create the best replenishment plan using real-time inventory
     level data and leverage centralized warehouse facilities, retailers using Dynamics
     AX can identify opportunities to reduce overall inventory carrying costs. …
     Automating the management of campaigns and prices and streamlining other
     administrative tasks can enable managers to focus on providing high levels of
     customer service at minimal cost.”

•    On May 26, 2011, Junction sent Team Express its Proposal and Implementation
     Plan Response for Team Express ERP Project: “But more importantly, above and
     beyond that, Junction Solutions has vertically focused on the multi-channel retail
     industry and built award-winning intellectual property custom-suited to
     companies like Team Express. With Junction MCR as the core ERP, Junction
     Solutions is uniquely positioned to meet and exceed your unique needs. ... Our
     overall combined and fully integrated ERP solution that focuses on the MCR
     industry cannot be matched today. ...We will make this project a success using
     our senior level MCR focused consultants, delivering value with least risk. ...
     Our call center, customer-service, and order-entry capabilities will enable Team
     Express representatives to efficiently handle requests across all channels, without
     duplicating those efforts across multiple systems. … Junction MCR’s advanced
     promotions management will meet Team Express’s efforts now, and allow for
     more creativity and flexibility in future marketing initiatives. Junction has spent
     a lot of time and effort understanding the unique fulfillment needs of MCR
     companies like Team Express. … Team Express will have at its disposal the full
     resource pool of Microsoft support and consulting services behind Junction
     Solutions. … While each of these customer segments has found Dynamics AX
     to be the most technically advanced enterprise-wide application on the market
     today, the real value proposition of Dynamics AX lies in its ability to satisfy
     current business requirements and remain flexible enough to adapt to future
     business needs. ... Microsoft Dynamics AX has become the fastest growing ERP
     solution in the market today because it offers the most advanced technology and
     lowest total cost of ownership.”

•    Junction promised to provide MCR focused consultants on the project to deliver
     value with the least risk. In fact, Junction pursued a highly risky approach that
     flouted these promises.

•    Junction and Microsoft told Team Express that Microsoft Dynamics AX was an
     ideal solution for mid-sized companies like Team Express and was designed
     specifically for them. To the extent that was ever true, it was certainly not true by
     the time the Team Express contract was signed and the project went live. Neither
     Microsoft nor Junction ever corrected these incorrect and untrue statements.




                                      10
       Case 5:15-cv-00994-DAE Document 163 Filed 05/12/17 Page 11 of 38



       22.    The foregoing is just a sampling of many similar promises and representations

made to convince Team Express to pick Microsoft and Junction for its ERP project.

       23.    Team Express relied upon these, and many other similar representations, to select

Microsoft and Junction as the team for its ERP software. But in the summer of 2011, just before

signing, Team Express’s owner at the time, Chase Capital, decided to delay the project.

Junction, however, remained in contact with Team Express and updated Team Express regarding

enhancements to the Microsoft Dynamics AX product.

       B.     The 2013–14 Investigation.

       24.    In January 2013, Chase Capital sold Team Express to an investor group led by

Mark Marney. Marney had previously founded, grown, and sold a similar company called The

Golf Warehouse and brought a strong management track record with him to Team Express.

       25.    By early 2014, Team Express was ready once again to examine options for

transitioning from Ecometry to a modern system. In doing so, Team Express relied on the prior

investigation and representations from back in 2010–11, as well as reports from Junction in the

intervening period about progress with the product (and the product roadmap) in the period since

2011. Based on these representations, Team Express focused on the solution that had been most

promising back then—Microsoft Dynamics AX and Junction Solutions. Junction, both on its

own behalf and as agent for Microsoft, reconfirmed its prior representations and told Team

Express that the intervening years had done nothing but make the Microsoft product and the

Junction team an even better fit for Team Express.

       26.    For example, in 2012, Microsoft introduced Dynamics AX 2012 for Retail—

purported to be a specialized system adapted for use in the retail industry. Moreover, in March

2014 the Junction MCR module—created by Junction especially for multi-channel retail

customers like Team Express—got the ultimate Microsoft stamp of approval: Microsoft bought

                                               11
       Case 5:15-cv-00994-DAE Document 163 Filed 05/12/17 Page 12 of 38



the product outright and the functionality would be written directly into Dynamics AX 2012

version R3, which would be the current version in 2014 when Team Express was to begin its

implementation project. As another example, in mid-2013 Microsoft purchased a warehouse

package from Blue Horseshoe and wrote its warehouse software program, called WAX, directly

into the Dynamics AX product as well. According to Junction, the new WAX module would do

everything Team Express’s current software could do in the warehouse area plus additional

functionality.

       27.       As was the case in 2010–11, Junction (both on its own behalf and as agent for

Microsoft) made a number of misrepresentations, including but not limited to:

       •         Representing that, as a part of Microsoft’s inner circle, Junction was helping to
                 steer future direction for AX (the product roadmap) in a way that would be
                 beneficial for Team Express and that, as a result, the product is considerably
                 better at meeting Team Express’ requirements than it was when demonstrated in
                 2011.

       •         On April 1, 2014, Junction’s Brion Reusche wrote to Brian Garcia: “I'm afraid I
                 am not in a position, yet, to do an end-to-end demo of R3…setting up new demo
                 environments ends up taking a long time, so we wait for RTM before doing that
                 undertaking. I could do demo on R2 and be sure to steer clear of the functions
                 which aren’t in R3... it is substantively the same capability, and the vast majority
                 of our MCR functions made it in to the new release. We actually just went thru
                 that analysis on the final code-drop from Microsoft.”

       •         Junction’s Thad Neal repeatedly told Brian Garcia and others at Team Express
                 that Microsoft Dynamics AX would greatly exceed the capabilities of the old
                 Ecometry software. Post-contract, on or about June 4, 2015, Mr. Neal admitted
                 the falsity of this pre-contract representation when he acknowledged in a
                 telephone conference that Junction could not deliver (in brand-new 2015-era
                 Microsoft software) the functionality Team Express had in its 1980’s-vintage
                 Ecometry software.

       •         During the 2013–14 investigation, Junction again claimed that it had deep
                 experience and expertise in migrating Ecometry users (like Team Express) to
                 Microsoft Dynamics AX.




                                                  12
       Case 5:15-cv-00994-DAE Document 163 Filed 05/12/17 Page 13 of 38



       •       Junction promised that it would utilize sophisticated, proven implementation
               methodologies, including Microsoft Sure Step and its own ROI methodology. It
               did not.

       •       Junction told Team Express that its implementation would be greatly enhanced
               through the use of its own “accelerators” and a “template-based” approach. These
               proved, at best, to be far short of what they were represented.

       28.     The foregoing is just a sampling of many similar promises and representations

made in 2013–14 to convince Team Express to sign with Microsoft and Junction. Team Express

relied upon these, and many other similar representations, to select Microsoft and Junction as the

team for its ERP software.

       C.      Team Express Signs the MSA and SOW Contracts

       29.     Relying on these and other representations by Defendants, on April 18, 2014

Team Express signed a Master Services Agreement (“MSA”) and Statement of Work (“SOW”)

with Junction, which included a license to Microsoft Dynamics AX software, sold by Microsoft

through its agent, Junction.

       30.     After signing the contracts, the parties worked to install and deploy the Microsoft

software at Team Express. That effort culminated when the new Junction/Microsoft Dynamics

software went “live” at Team Express on February 23, 2015. And from that day on, Team

Express was in deep distress.

       D.      The Software Goes “Live” and Fails Spectacularly

       31.     Microsoft’s software and Junction’s implementation were failures. The software

was unstable; it regularly failed, interrupting Team Express’s entire business. Its inner workings

appeared to be a mystery to the supposed experts at Junction and even to Microsoft’s own

consultants, who were brought in to attempt to fix this disastrous project. Documentation about

the Microsoft software was lacking. Junction’s implementation work was plagued by missed

deadlines, confusion, chaotic project oversight, lack of understanding about how the product

                                               13
       Case 5:15-cv-00994-DAE Document 163 Filed 05/12/17 Page 14 of 38



works and, most of all, a failure to identify and manage these problems in advance. Instead,

Junction recklessly proceeded to “go live” to find out how the software might perform, and

foisted the pain of that decision onto Team Express.

       32.     From the very outset, critical, widespread problems materialized. These problems

were felt most acutely in system stability; invoicing and payment processing; warehouse

operations; fraud detection; promotions; and demand forecasting.

       33.     Team Express initially could not reconcile its opening financial balances.

Invoices were delayed and wrong, forcing Team Express to do this process manually (after

buying a supposedly cutting edge ERP software system to handle all aspects of its business).

Duplicate products were shipped to puzzled customers. Some lucky customers got free product;

others were charged multiple times for the same order. Quite understandably, these customers

were not happy; so they voiced their displeasure in online postings, reports to the Better Business

Bureau, and complaints to the Texas Attorney General. Instead of having access to modern

business metrics and reports, Team Express was “flying blind,” lacking the most basic

information about its business due to the many flaws in the software.

       34.     In payment processing, Team Express was promised that Junction had already

built and would be able to deploy a direct interface between Microsoft Dynamics AX and Team

Express’s payment processor, Chase Paymentech.          But instead of a streamlined, seamless

payment processing solution, Team Express got a system characterized by stunning performance

errors. Far from improving and streamlining the payment processing functions, Dynamics AX’s

payment processing solution brought Team Express to its knees.

       35.     Then there were the warehouse problems. Prior to signing, Junction repeatedly

represented that Microsoft Dynamics AX R3’s warehouse module, “WAX,” would do



                                                14
       Case 5:15-cv-00994-DAE Document 163 Filed 05/12/17 Page 15 of 38



everything Team Express’s legacy Ecometry system did and more. Junction assured Team

Express that it would love the new WAX capability and that it was better than the warehouse

functionality available from Microsoft back in 2011. But once the contract was signed, it

became apparent that WAX was nothing like it was represented to be and that Junction was as

confused by the module as Team Express. For example, after go-live the number of warehouse

replenishments (restocking bins in the warehouse—a time-consuming task for warehouse

personnel) went up 600%, wreaking havoc with Team Express’s warehouse operations.

       36.    On a number of instances post-go-live, Junction acknowledged that the WAX

warehouse module was “new to us too.” Unfortunately, such candor was notably absent during

the period in which Junction and Microsoft were working to convince Team Express to sign up.

       37.    Another example is the fraud prevention functionality. Once implemented, Team

Express discovered that, contrary to pre-contract representations by Defendants, this aspect of

the software only worked for phone orders, not Internet orders. Not coincidentally, Team

Express quickly suffered an Internet-based fraud attack, as scammers discovered that it was easy

prey, resulting in almost $1 million in losses and forcing Team Express to purchase an add-on

service costing $100,000 per year to do the fraud-prevention functionality Team Express was

told would come with Dynamics out of the box.

       38.    Yet another example is the security of the Dynamics AX system. Any credible

ERP system must maintain different security levels for different individuals within a company.

Dynamics AX indeed has this functionality. But although Team Express trained and initially

implemented security roles, post-go-live Junction determined that the security roles were

interfering with its attempts to fix the numerous system crashes, performance issues, and other

mission-critical problems introduced by Dynamics AX. Thus, Junction told Team Express to



                                              15
       Case 5:15-cv-00994-DAE Document 163 Filed 05/12/17 Page 16 of 38



“open up” the system and eliminate all security settings, which effectively gave every employee

access to all information in the system. As of the date Team Express filed suit, this glaring hole

remained. And some of the “fixes” involved customized code that, apparently, will “break” if

the security settings are turned back on, leaving Team Express in a quandary.

       39.     And finally, Junction and Microsoft failed to provide Team Express with

sufficient training materials for R3, which were a project deliverable, and failed to support the

delivery of end user training materials through the promised “Train the Trainer” program.

       E.      After Team Express Filed this Lawsuit, Junction Transferred Substantially
               All of Its Assets to RSM While Retaining Liability for the Lawsuit

       40.



       41.     After learning about the Junction transaction, Team Express requested that

Junction produce the transaction documents so that Team Express could assess whether an RSM-

related entity would be the proper party for the asserted claims in this lawsuit.

       42.     Junction agreed to provide a heavily redacted version of the APA pursuant to an

interim Protective Order that was negotiated between Team Express and Junction. Junction

produced the redacted APA on or about January 23, 2016. (Exhibit C).

       43.     After reviewing the redacted APA, Team Express became concerned that the

transaction was effectively denuding Junction’s assets to the point that it would not be able to

pay for the harm it caused Team Express. Team Express shared that concern with Junction and

requested additional information from Junction in order to evaluate (1) what consideration RSM




                                                 16
       Case 5:15-cv-00994-DAE Document 163 Filed 05/12/17 Page 17 of 38




       44.




       45.    On or about April 21, 2016, Team Express sought leave to add claims against

RSM and others relating to the asset transfer. Thereafter, additional information was produced to

Team Express about the APA and related transactions.

       46.




       47.




                                               17
       Case 5:15-cv-00994-DAE Document 163 Filed 05/12/17 Page 18 of 38



       48.    Section 2.1 of the APA defines Purchased Assets to include “all of the business



every kind and description, wherever located, real, personal or mixed, tangible or intangible,

used in connection with the Business as the same shall exist on the Closing Date, other than the




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                                              18
Case 5:15-cv-00994-DAE Document 163 Filed 05/12/17 Page 19 of 38




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                               19
Case 5:15-cv-00994-DAE Document 163 Filed 05/12/17 Page 20 of 38




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                               20
       Case 5:15-cv-00994-DAE Document 163 Filed 05/12/17 Page 21 of 38



       61.



       62.     RSM does not have any defenses, affirmative defenses, offsets, counterclaims, or

other relief with regard to the allegations, causes of action, and remedies set forth in this Third

Amended Complaint.

                                 V.     CAUSES OF ACTION

       A.      Fraud and Fraudulent Inducement by Junction and Microsoft.

       63.     The allegations contained in the preceding paragraphs are incorporated herein by

reference for all purposes.

       64.     As described above, Junction and Microsoft fraudulently induced Team Express

to enter into the MSA and SOW by making numerous affirmative, material misrepresentation to

Team Express, making misleading partial disclosures, and failing to disclose material facts when

they had a duty to do so regarding Junction’s experience and capability in implementing the

Microsoft Dynamics AX 2012 R3 product and regarding the Dynamics AX 2012 R3 product

itself. The affirmative misrepresentations include, but are not limited to, the statements and

representations described above. Many more misrepresentations were made but the truth of

those representations will require discovery to prove.

       65.     Knowing Team Express’s business needs and goals for the ERP implementation,

Junction enthusiastically recommended that Team Express license Microsoft Dynamics AX 2012

R3 and engage Junction to implement it. Junction held itself out to be an expert and leader in the

software implementation industry and, in particular, as an expert with a great deal of knowledge

and experience in Microsoft Dynamics AX software implementation; ERP software for multi-

channel retail companies like Team Express; and in migrating companies from Ecometry

systems, like Team Express’s legacy system, to Microsoft Dynamics AX.                But Junction

                                                21
       Case 5:15-cv-00994-DAE Document 163 Filed 05/12/17 Page 22 of 38



misrepresented its capability and experience to implement, configure, test, and deliver a

Microsoft Dynamics AX system that met Team Express’s needs.          Microsoft,       in     turn,

recommended that Team Express hire Junction.          Defendants also misrepresented that the

Dynamics AX product would meet Team Express’s needs. Defendants knew that the failure of

either or both of the software or implementation services could lead to failure for Team

Express’s business.

       66.     In addition to being liable for their affirmative misrepresentations, Defendants

were under an affirmative duty to disclose material information pertaining to the project to Team

Express, because: (1) the parties had a special relationship requiring full disclosure; (2)

Defendants discovered new information as the project continued that made its earlier

representations misleading or untrue; (3) Defendants created false impressions by making partial

disclosures; and (4) Defendants voluntarily disclosed some information and therefore had duty to

disclose the whole truth. Despites their duties of disclosure, Defendants failed to disclose

material information to Team Express knowing that Team Express was unaware of the facts and

did not have an equal opportunity to discover such facts.

       67.     Defendants’ misrepresentations, misleading partial disclosures, and failure to

disclose were material to Team Express, and at the time Defendants made such

misrepresentations and concealment, they knew Team Express was unaware of the true facts and

did not have an equal opportunity to discover them. Defendants made such misrepresentations,

misleading partial disclosures, and nondisclosures with the intent that Team Express enter the

MSA and SOW. Team Express reasonably relied upon such misrepresentations, misleading

partial disclosures, and nondisclosures in doing so. At     the   time   Defendants   made   such




                                                22
          Case 5:15-cv-00994-DAE Document 163 Filed 05/12/17 Page 23 of 38



misrepresentations, they knew they were false, or at the very least made such misrepresentations

recklessly without knowledge of their truth and as positive assertions.

          68.   Defendants intended that Team Express rely on these misrepresentations, and

Team Express did, in fact, reasonably rely on them in selecting Microsoft Dynamics AX

software and Junction’s implementation services and in entering into the MSA and SOW. Team

Express also reasonably relied on Junction’s purported expertise and accepted Junction’s and

Microsoft’s recommendations both before and after the contract signing.

          69.   As a result of Defendants’ false and reckless misrepresentations, misleading

partial disclosures, and nondisclosures, Team Express has been, and continues to be, damaged.

Defendants should be held responsible for all actual damages as well as exemplary damages

necessary to deter them from committing fraud and inflicting damage on other companies in the

future.

          B.    Fraudulent Misrepresentation and Concealment by Junction and Microsoft
                (“String along Fraud”).

          70.   The allegations contained in the preceding paragraphs are incorporated herein by

reference for all purposes.

          71.   The misrepresentations and nondisclosure continued even after the MSA and

SOW were signed, thereby fraudulently inducing Team Express to “go live” in the first place and

then to continue with the project even after the problems became apparent.

          72.   Team Express relied upon Junction’s and Microsoft’s post-contractual

misrepresentations, misleading partial disclosures, and nondisclosures to carry out its own

obligations under the SOW and continue spending its own time, money, and resources in

attempting futilely to make the Dynamics AX implementation work.




                                                23
       Case 5:15-cv-00994-DAE Document 163 Filed 05/12/17 Page 24 of 38



       73.     As a result of these misrepresentations, misleading partial disclosures, and

nondisclosures, Team Express has been damaged, and it continues to be damaged.

       74.     Defendants should be held responsible for all actual damages as well as

exemplary and punitive damages necessary to deter them from committing fraud and inflicting

damage on other companies in the future.

       C.      Negligent Misrepresentation by Junction and Microsoft.

       75.     The allegations contained in the preceding paragraphs are incorporated herein by

reference for all purposes.

       76.     As set forth above, Junction and Microsoft made misrepresentations, misleading

partial disclosures, and failure to disclose to Team Express. Junction and Microsoft failed to

exercise reasonable care or competence in communicating with Team Express.

       77.     To the extent these misrepresentations, misleading partial disclosures, and failures

to disclose were not intentional (and Team Express believes they were), they were at least

negligent. And as a result, Team Express has suffered damages. These misrepresentations were

inherently undiscoverable until the system was brought online and were not discovered until that

point. Defendants concealed these misrepresentations.

       78.     Defendants should be held responsible for all actual damages and because

Defendants were grossly negligent in making misrepresentations to Team Express, they should

also be held responsible for exemplary and punitive damages necessary to deter them from

committing similar acts and inflicting damage on other companies in the future.

       D.      Breach of Contract by Junction.

       79.     The allegations contained in the preceding paragraphs are incorporated herein by

reference for all purposes.



                                                24
       Case 5:15-cv-00994-DAE Document 163 Filed 05/12/17 Page 25 of 38



       80.     In section 6 of the MSA, Junction promised and warranted that the services it

would provide “shall be performed in a professional and workmanlike manner and shall comply

in all material respects with the specifications set forth in the applicable SOW.”

       81.     Junction failed in many material respects to perform its obligations under the

SOW in conformance with the contract and in a “professional and workmanlike manner.” For

example, the SOW specifies that the work will meet Team Express’s specifications with “out-of-

box functionality” from Dynamics AX 2012 R3, with only limited, specifically-identified

exceptions. Exhibit B (SOW at 6). In fact, Dynamics’ out-of-the-box functionality came

nowhere close to meeting Team Express’s needs. Junction further promised that it would

“demonstrate how to perform Team Express’s business processes within the base Dynamics AX

software.” Given the utter failure of Dynamics AX software even to function as a practical

matter, much less to perform Team Express’s business processes, this promise was breached as

well. Exhibit B (SOW at 6).

       82.     Junction failed to perform its responsibilities and obligations set forth in the MSA

and SOW including, but not limited to: providing a fully functioning Microsoft Dynamics AX

2012 R3 that (i) met or exceeded the functionality of the legacy Ecometry system; (ii) met Team

Express’s business needs; (iii) actually worked; and (iv) is in accordance with the specifications

outlined in the SOW. Junction further failed to perform its obligations in a manner consistent

with generally accepted industry standards; in a workmanlike manner; or in conformity with the

specifications in the SOW.

       83.     Team Express has fulfilled all of its obligations under the MSA and SOW or

alternatively is excused from fulfilling those obligations based upon the breach of contract,

fraud, and other malfeasance by Junction and Microsoft.



                                                 25
       Case 5:15-cv-00994-DAE Document 163 Filed 05/12/17 Page 26 of 38



       84.      As a result of Junction’s failures and misconduct, it materially breached the MSA

and SOW. Each of the failures and misconduct has caused and continues to cause damage to

Team Express.

       85.      All conditions precedent have occurred or are excused.

       E.       Breach of Warranty by Junction.

       86.      The allegations contained in the preceding paragraphs are incorporated herein by

reference for all purposes.

       87.      Junction sold consulting and software implementation services to Team Express

under the MSA and SOW. As set forth above, Junction made representations and promises to

Team Express concerning the existence, quality, and/or characteristics of the services that it

would provide. Junction further made representations about its alleged expertise and experience

in the multi-channel retail industry; its expertise and experience in implementing Microsoft

Dynamics AX in a competent manner; the capabilities and fit of the WAX warehouse module;

and its expertise and experience in migrating customers from Ecometry to Microsoft Dynamics

AX.    Team Express relied upon these representations and promises in entering into and

continuing with, the MSA and SOW.

       88.      The services provided were not in conformance with the representations and

promises made by Junction. Junction breached its warranty to Team Express, and Team Express

suffered significant damages as a result.

       F.       Breach of Contract and Breach of Warranty by Microsoft.

       89.      The allegations contained in the preceding paragraphs are incorporated herein by

reference for all purposes.

       90.      Through its agent Junction, Microsoft sold Dynamics AX 2012 R3 software to

Team Express.       (Exhibit I). Microsoft’s agent, Junction, made numerous promises and

                                                26
       Case 5:15-cv-00994-DAE Document 163 Filed 05/12/17 Page 27 of 38



representations regarding the capabilities of the Dynamics product, including its ability to meet

Team Express’s needs; its ability to provide all functionality of the legacy Ecometry system, and

then some; its low-risk profile as an established and widely used ERP product; its inclusion of

functionality from Junction’s prior MCR product, which was supposed to be included within

Dynamics AX 2012 R3; and the suitability of the WAX warehouse module for Team Express.

       91.     The Dynamics AX 2012 R3 product did not conform to the representations and

promises made by Microsoft’s agent, Junction, and did not conform to the Warranty provided by

Microsoft. (Exhibit I). Microsoft breached its warranty to Team Express, and Team Express

suffered significant damages as a result.

       G.      Negligence and Gross Negligence Against Junction and Microsoft.

       92.     The allegations contained in the preceding paragraphs are incorporated herein by

reference for all purposes.

       93.     In undertaking to implement the Microsoft Dynamics software at Team Express,

Junction owed Team Express a duty of reasonable care. Junction held itself out to be an expert

in software implementation in general, with particular expertise in i) implementing Microsoft

Dynamics software; ii) implementing Microsoft Dynamics software at retailers like Team

Express; and iii) migrating companies from Ecometry software to Microsoft Dynamics. As such,

Junction was required to act as a professional of ordinary prudence.         Microsoft similarly

undertook to assist Junction in its flailing attempts to get the Microsoft Dynamics software to

work and Microsoft held itself out to be expert in the design and functioning of its own

Dynamics software. Both Junction and Microsoft failed to exercise reasonable care in their

respective efforts in connection with the failed implementation at Team Express.

       94.     Junction and Microsoft were well aware of the risks to a company implementing

ERP software like Microsoft Dynamics, yet Junction proceeded to “go live” at Team Express

                                               27
        Case 5:15-cv-00994-DAE Document 163 Filed 05/12/17 Page 28 of 38



despite its apparent lack of knowledge about many aspects of the Microsoft Dynamics AX 2012

R3 product and without taking reasonable steps to minimize any risk to Team Express’s business

if the Dynamics product failed. Microsoft allowed Junction to “go live” despite Microsoft’s own

befuddlement with the 2012 R3 version of its software, which was brand new when it was

entrusted with Team Express’s entire business, much to Team Express’s detriment.

       95.     Junction’s and Microsoft’s actions and failures to act in a reasonably prudent

manner constitute negligence and breached their respective duties to Team Express.

       96.     Junction’s and Microsoft’s actions and failures to act in a reasonably prudent

manner further constitute gross negligence. Junction was aware at the time it lured Team

Express into the MSA and SOW and at the time it brought Microsoft Dynamics “live” that doing

so involved an extreme degree of risk, considering the probability and magnitude of the potential

harm to Team Express. Microsoft was also aware of this risk. Junction and Microsoft each had

actual, subjective awareness of the risk involved, but nevertheless proceeded with conscious

indifference to the rights, safety, or welfare of Team Express.

       97.     This negligence and gross negligence by both Junction and Microsoft proximately

caused injury to Team Express.

       H.      Alternative Theories of Liability Against Microsoft.

       98.     The allegations contained in the preceding paragraphs are incorporated herein by

reference for all purposes.

       99.     Junction and Microsoft held themselves out to Team Express as partners and

shared a common benefit, and they acted in concert. To the extent that Microsoft contends that it

is not responsible for the actions of its authorized, value-added reseller, Team Express pleads

these alternative theories of liability against Microsoft:



                                                  28
       Case 5:15-cv-00994-DAE Document 163 Filed 05/12/17 Page 29 of 38



               1.      Civil Conspiracy between Junction and Microsoft

       100.    Microsoft is liable for the acts of Junction because they acted in combination to

achieve a common goal and joined together in a conspiracy to induce Team Express into the

MSA and SOW. Junction and Microsoft were members of the conspiracy, the object of which

was to accomplish an unlawful purpose or a lawful purpose by unlawful means, such as

fraudulent inducement as well as the other unlawful means pleaded herein; they had a meeting of

the minds on the object or course of action; one or both of them committed an unlawful, overt act

to further the object or course of action; and Team Express suffered injury as a proximate result

of the wrongful act.

               2.      Joint Enterprise between Junction and Microsoft

       101.    Microsoft is vicariously liable for the acts of Junction during the pre-contract

period and implementation because they acted as a joint enterprise. They had an express or

implied agreement, a common purpose to be carried out by the enterprise, a community of

pecuniary interest in that common purpose, and an equal right to direct and control the

enterprise. Microsoft is responsible for Junction’s conduct, representations, and nondisclosures

during the joint enterprise.

               3.      Aiding and Abetting by Microsoft

       102.    Microsoft is responsible for both aiding and abetting by assisting and participating

in causing a tortious result. During the pre-contract period, Junction and Microsoft provided

information about Microsoft Dynamics and Junction’s services that were untrue and misleading.

This behavior misled and fraudulently induced Team Express to enter into the MSA and SOW.

Microsoft provided substantial assistance to Junction to accomplish the tortious result, and, as

explained herein, Junction’s conduct was a breach of its duties to Team Express. Microsoft’s



                                                29
         Case 5:15-cv-00994-DAE Document 163 Filed 05/12/17 Page 30 of 38



actions were a substantial factor in causing the fraudulent inducement and, therefore, Team

Express’s injuries.

                  4.       Microsoft is Liable for Junction’s Actions Under Agency Principles

         103.     During the pre-contract period, Junction acted as the actual or apparent agent of

Microsoft in representing the qualities and capabilities of the Microsoft Dynamics software and

demonstrating and explaining its functionality and capabilities.

         104.     Microsoft designated Junction as an authorized reseller of Dynamics AX software

and in fact required small enterprises like Team Express to purchase the software through

resellers such as Junction.          In fact, Microsoft specifically recommended Junction to Team

Express. Microsoft further designated Junction as a premier partner with a Gold Certification

and named Junction to the Microsoft Business Solutions Inner Circle.

         105.     Junction was acting within the scope of this agency when it made representations

to Team Express about Microsoft Dynamics AX software, as described herein. Microsoft is

liable for its agent’s pre- and post-contract representations, statements, and activities regarding

Microsoft’s Dynamics AX software.

         I.       Avoidance, Preservation, and Return of Actual Fraudulent Transfers Under
                  TUFTA1 § 24.005 Against Junction and RSM

         106.     The allegations contained in the preceding paragraphs are incorporated herein by

reference for all purposes.


1
  References to the Texas Uniform Fraudulent Transfer Act (“TUFTA”) shall mean TEX. BUS. & COM. CODE
ANN. § 24.001 et seq. The Fifth Circuit has found that the forum’s law should apply, and no choice-of-law
analysis is even necessary, when the laws of the states do not conflict. See Schneider Nat’l Transp. v. Ford Motor
Co., 280 F.3d 532, 536 (5th Cir. 2002). Most states, and each of the potentially relevant states to the fraudulent
transfer claims alleged herein, have adopted the Uniform Fraudulent Transfer Act (the “UFTA”). See Janvey v.
Alguire, 2013 U.S. Dist. LEXIS 82568, at 51 (N.D. Tex. Jan. 22, 2013) (“[S]ince the Court would look to the
same body of cases applying the law of any UFTA-enacting state, the Court would reach the same conclusion
regardless of which UFTA jurisdictions law that it applied.”). Nonetheless, to the extent that this Court determines
that another state’s fraudulent transfer law applies to the facts alleged herein, Team Express respectfully submits that
it has pled facts sufficient to show violations of any state’s fraudulent transfer law.

                                                          30
Case 5:15-cv-00994-DAE Document 163 Filed 05/12/17 Page 31 of 38



107.




108.




109.



       a.   The Transfers were concealed; Junction did not inform Team Express

            about them and when Team Express discovered them on its own, Junction

            then refused to disclose the details of the Transfers to Team Express,




       b.



       c.




       d.




                                   31
       Case 5:15-cv-00994-DAE Document 163 Filed 05/12/17 Page 32 of 38



               e.




               f.




       110.    Courts determine actual intent to defraud by considering certain “badges of fraud”

as provided in TUFTA.         Several of the badges of fraud exist here, as explained above.

Therefore, the Transfers are fraudulent transfers in violation of TUFTA § 24.005(a)(1) and/or

(b).

       111.

       112.

       113.    Based upon the foregoing allegations stated in this Amended Complaint, the

Transfers are subject to avoidance pursuant to TUFTA § 24.005(a)(1), (b), and 24.008. Team

Express is entitled to a judgment (a) avoiding and preserving the Transfers for the Estate; (b)

directing that the Transfers be set aside; (c) recovering the Transfers, or the value thereof, from

RSM for the benefit of the Estate; and (d) imposing a constructive trust on any money or assets

acquired by, and which unjustly enriched, RSM.

       J.      Avoidance, Preservation, and Return of Constructively Fraudulent Transfers
               Under TUFTA § 24.005(a)(2) Against Junction and RSM

       114.    The allegations contained in the preceding paragraphs are incorporated herein by

reference for all purposes.




                                                32
       Case 5:15-cv-00994-DAE Document 163 Filed 05/12/17 Page 33 of 38



       115.




       116.     J



       117.

                            .

       118.



       119.




       120.     The Transfers are fraudulent transfers in violation of TUFTA §§ 24.006(a) and

24.005(a)(2).

       121.

       122.

                     .

       123.     Based upon the foregoing allegations, such Transfers are subject to avoidance

pursuant to TUFTA §§ 24.006(a), 24.005(a)(2), and 24.008. Team Express is entitled to a



                                              33
       Case 5:15-cv-00994-DAE Document 163 Filed 05/12/17 Page 34 of 38



judgment (a) avoiding and preserving the Transfers for the Estate; (b) directing that the Transfers

be set aside; (c) recovering the Transfers, or the value thereof, from RSM for the benefit of the

Estate; and (d) imposing a constructive trust on any money or assets acquired by, and which

unjustly enriched, RSM.

       K.         Civil Conspiracy to Violate TUFTA Against Junction and RSM

       124.       The allegations contained in the preceding paragraphs are incorporated herein by

reference for all purposes.

       125.




       126.       Junction and RSM were members of the conspiracy, the object of which was to

accomplish an unlawful purpose or a lawful purpose by unlawful means, including the fraudulent

transfer of Junction’s assets to RSM and any consideration for those assets, to Junction’s

stockholders, as reflected in the terms of the APA, the License Facilitation Agreement, and the



              .

       127.       Junction and RSM had a meeting of the minds on the object or course of action;

one or all of them committed an unlawful, overt act to further the object or course of action; and

Team Express suffered injury as a proximate result of the wrongful act. The overt acts in

furtherance of the conspiracy include those acts alleged in this complaint, such as signing the




                                                 34
        Case 5:15-cv-00994-DAE Document 163 Filed 05/12/17 Page 35 of 38



        128.




        L.     Successor Liability Against RSM

        129.   The allegations contained in the preceding paragraphs are incorporated herein by

reference for all purposes.

        130.   By virtue of the above-pled fraudulent transfer causes of action, RSM is subject to

successor liability for the debts of Junction under the fraudulent transaction doctrine of Delaware

law.

        M.     Reservation of Rights

        131.   The allegations contained in the preceding paragraphs are incorporated herein by

reference for all purposes.

        132.   Team Express had to retain attorneys to prepare, file, and prosecute this action

and has incurred fees and expenses in connection therewith.

        133.   TUFTA § 24.013 provides for the recovery of “costs and reasonable attorney’s

fees as are equitable and just.”

        134.   Based on the facts and circumstances surrounding the fraudulent acts described

herein, it is equitable and just that Team Express recover for its costs and reasonable attorney’s

fees.   Accordingly, pursuant to TUFTA § 24.013 Team Express seeks recovery of costs,

including reasonable attorney’s fees and expenses incurred by Team Express in connection with

the preparation and filing of all pleadings in this case and in prosecuting the same.




                                                 35
       Case 5:15-cv-00994-DAE Document 163 Filed 05/12/17 Page 36 of 38



       N.      Exemplary Damages

       135.    The allegations contained in the preceding paragraphs are incorporated herein by

reference for all purposes.

       136.    In addition to actual damages and to the fullest extent allowed under applicable

law, Team Express seeks exemplary damages under its claims for fraud, fraudulent inducement,

string-along fraud, fraudulent transfer, gross negligence, and negligent misrepresentation.

       137.    Because Defendants have committed acts that violate criminal statutes, including

Texas Penal Code § 32.46, Team Express’s recovery of exemplary and punitive damages is not

limited by the application of any law, including Section 41.008(b) of the Texas Civil Practice &

Remedies Code.

       138.    Defendants actions as set forth herein were fraudulent; grossly negligent; and/or

conducted with malice. Punitive damages are necessary and just in order to penalize Junction,

Microsoft, and RSM for their outrageous conduct. These are not just isolated acts of fraud, gross

negligence, and wrongful conduct, but a persistent and wide-ranging pattern of deceptive and

intentional conduct. By engaging in these tactics, Defendants sought to profit, and in fact to

learn about their own newly revised software, at the expense of Team Express. That conduct

continued even after Team Express filed this lawsuit, when the Defendants transferred Junction’s

assets to RSM, and essentially stripped Junction of substantially all of the assets that would

otherwise be available to pay a judgment in this matter. As such, Team Express should be

awarded punitive damages.

       O.      Texas Rule of Civil Procedure 47

       139.    In accordance with Texas Rule of Civil Procedure 47, Team Express states that it

seeks monetary relief over $1 million in addition to attorneys’ fees, pre- and post-judgment

interest, exemplary damages, and court costs.

                                                36
       Case 5:15-cv-00994-DAE Document 163 Filed 05/12/17 Page 37 of 38



                                  VI.       ATTORNEYS’ FEES

       140.    Team Express has been required to employ counsel to represent its interests as a

result of the foregoing causes of action. Team Express seeks all reasonable and necessary

attorneys’ fees, expenses and costs of court for the work done prior to and at trial, on appeal to

the Fifth Circuit Court of Appeals and, if applicable, to the Supreme Court pursuant to applicable

law.

                                     VII.    JURY DEMAND

       141.    Team Express demands a trial by jury on all issues.

                                        VIII. PRAYER

       WHEREFORE, Plaintiff Team Express Distributing LLC respectfully requests that

Defendants Junction Solutions, Inc., Microsoft Corporation, and RSM be cited to appear and

answer herein and upon final hearing, that Team Express be awarded:

       a)      all actual damages caused by Defendants;

       b)      exemplary damages;

       c)      avoidance of the fraudulent transfers of assets from Junction to RSM;

       d)      a constructive trust upon the assets formerly belonging to Junction as well as the
               proceeds from the sale of those assets;

       e)      attachment of the assets formerly belonging to Junction as well as the proceeds
               from the sale of those assets;

       f)      an injunction against further disposition of the assets of Junction;

       g)      reasonable and necessary attorneys’ fees;

       h)      pre- and post-judgment interest;

       i)      costs of court; and

       j)      such other and further relief, both at law and in equity, to which plaintiff may
               justly show itself entitled.



                                                  37
       Case 5:15-cv-00994-DAE Document 163 Filed 05/12/17 Page 38 of 38



       Dated: April 12, 2017                       Respectfully submitted,

                                                   MCKOOL SMITH, P.C.

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                                                    Attorneys for Plaintiff
                                                    Team Express Distributing LLC




                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing document has

been served on all counsel of record via the Court’s ECF system on April 12, 2017.

                                                   /s/ Scott L. Cole
                                                   Scott Cole




                                              38
